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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NE,V YORK

In re:                                              Chapter 11

ORIONHEALTHCORP, INC.                               Case No. 18-71748 (AST)

                         Debtors.                   Jointly Administered
HOWARD M. EHRENBERG, in his
capacity of Liquidating Trustee of Orion
Healthcorp, Inc., et al,

                       Plaintiffs,                  Adv. Pro. No. 8-20-08048-ast

         - against -

ELIZABETH KELLY; FIDELITY
NATIONAL TITLE INSURANCE
COMPANY,
                Defendants.




                        SO ORDERED STIPULATION EXTENDING
                        DEADLINE TO RESPOND TO COMPLAINT

         WHEREAS, Defendant Fidelity National Title Insurance Company ("FNTIC")             was

served with the summons and complaint on or about May 11, 2020. Defendant, does not

challenge personal jurisdiction and waives any objection to service of process in this adversary

proceeding

         WHEREAS, Defendant, FNTIC deadline under Federal Rule of Bankruptcy Procedure

7012(a) to answer or otherwise respond to the Complaint in this adversary proceeding is June 7,

2020;and

         WHEREAS, Plaintiff has agreed to extend Defendant FNTIC response deadline through

July 7, 2020.
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       NOW THEREFORE, Plaintiff and Defendant FNTIC hereby stipulate and agree, and on

Court approval hereof it shall be ordered, that Defendants' deadline to answer or otherwise

respond to the Complaint is hereby extended through July 7, 2020.


Junell_, 2020                                             June 23, 2020


FIDELITY NATIONAL                                         PACHULSKI STANG ZIEHL
LAW GROUP                                                 & JONES, LLP
Attorneys for Defendant Fidelity                          Attorneys for Plaintiff
National Title Insurance Company                                                )

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